Case 3:15-cr-02673-AJB Document 54 Filed 09/25/20 PagelD.74 Page 1 of 2
AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

(For Revocation of Probation or Supervised Release)
(For Offenses Committed On or After November 1, 1987)

 

 

V.
ALBERTO ENCISO-MEJIA (1) Case Number: 15CR2673-AJB
| Norma Aguilar, Federal Defenders, Inc.
, Defendant’s Attorney

REGISTRATION NO. 26743208
Ci
THE DEFENDANT:
admitted guilt to violation of allegation(s) No. 1.
L] was found guilty in violation of allegation(s) No. __ after denial of guilty.

 

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number Nature of Violation
1 Committed a federal, state or local offense

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any —
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances,

 

 

; Ze, yg ~ .
IN. Anthony J. Battaglia
ITED STATES DI T JUDGE

 
Case 3:15-cr-02673-AJB Document 54 Filed 09/25/20 PagelD.” 75 Page 2 of 2
AO 245D (CASD Rev. 01/ 19) Judgment in a Criminal Case for Revocations

 

DEFENDANT: © ALBERTO ENCISO-MEJIA (1) Judgment - Page 2 of 2
CASE NUMBER: 15CR2673-AJB :

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:

Twelve (12) months, with Six (6) months consecutive to and Six (6) months concurrent with sentence imposed in
19CR1847-AJB.

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

OO

Cl] The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:

 

 

O at . | AM. || on
Ci as notified by the United States Marshal.

. O The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
0 onor before .
O as notified by the United States Marshal.
Cl as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on . to
at . , with a certified copy of this judgment.
UNITED STATES MARSHAL
By DEPUTY UNITED STATES MARSHAL

15CR2673-AJB
